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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF RHODE ISLAND



 SHEET METAL WORKERS LOCAL NO. 20
 WELFARE AND BENEFIT FUND, and                      Case No. 1:16-cv-00046-S
 INDIANA CARPENTERS WELFARE FUND,
 on behalf of themselves and all others similarly   AMENDED CLASS ACTION
 situated,                                          COMPLAINT
                                    Plaintiffs,
                                                    DEMAND FOR JURY TRIAL
          v.

 CVS PHARMACY, INC.,
                                   Defendant.




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                                d.          Whether CVS has engaged in fraud, unfair methods
                                            of competition, unconscionable acts or practices,
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                                e.          Whether, as a result of CVS’s conduct, Plaintiffs
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                               f.        Whether, as a result of CVS’s misconduct, Plaintiffs
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          Plaintiffs Sheet Metal Workers Local No. 20 Welfare And Benefit Fund and Indiana

 Carpenters Welfare Fund (collectively, “Plaintiffs”), on behalf of themselves and all others

 similarly situated, bring this action against CVS Pharmacy, Inc. (“CVS”), to recover monetary

 damages, injunctive relief, and other remedies for violations of state laws.

                                     I.     NATURE OF ACTION

          1.       CVS knowingly and intentionally overcharged Plaintiffs and private health

 insurance companies, third-party administrators, health maintenance organizations, self-funded

 health and welfare benefit plans, third-party payors and any other health benefit providers

 (“Third-Party Payors” or “TPPs”) for generic prescription drugs by submitting claims for

 payment to Third-Party Payors at fraudulently inflated prices. CVS’s false and deceptive pricing

 scheme caused TPPs, which paid for generic prescription drugs on behalf of their members and

 beneficiaries, to pay significantly more than CVS charges its cash-paying customers to purchase

 the same drugs.

          2.       When a plan participant fills a prescription under a third-party health care plan, a

 TPP pays the majority of the participant’s prescription drug costs, excluding deductibles and co-

 pays. For purposes of the Class (defined below), the amount collected by CVS may not exceed

 CVS’s usual and customary price, which is generally defined as the cash price to the general

 public for the same drug.

          3.       CVS commonly submits electronic claims for payment to Third-Party Payors

 when it fills prescriptions. In submitting electronic claims for payment, CVS is required to state

 accurately its usual and customary price for every dispensing event, in accordance with the

 National Council for Prescription Drug Program (“NCPDP”) requirements. But for years, CVS

 has knowingly and intentionally submitted false and artificially inflated usual and customary




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 prices for generic drugs to Third-Party Payors. Beginning in 2008, CVS orchestrated and carried

 out a massive fraud that resulted in substantial ill-gotten gains, and substantial harm to Plaintiffs

 and the members of the Classes they represent. CVS created the “Health Savings Pass” (“HSP”)

 program—the vehicle for its fraud— to overcharge Third-Party Payors for covered drugs.

          4.       CVS intended that the HSP program would hide CVS’s true usual and customary

 prices from Third-Party Payors. By submitting false and inflated usual and customary prices to

 Third-Party Payors, CVS knowingly and wrongfully overcharged TPPs amounts that exceeded

 the HSP drug prices available to the general public for the same drugs.

          5.       As a result of CVS’s unlawful scheme, CVS overcharged Plaintiffs and the other

 Class members for generic prescription drugs (in many cases by more than three or four times

 the usual and customary price) from November 2008 to the present. CVS’s misconduct has

 caused Plaintiffs and the other Class members to suffer significant damages.

                                          II.     PARTIES

 A.       Plaintiffs

          6.       Plaintiff Sheet Metal Workers Local No. 20 Welfare and Benefit Fund is a Third-

 Party Payor which maintains its principal place of business in Indianapolis, Indiana. Plaintiff is

 an “employee welfare benefit plan” and an “employee benefit plan” as defined in the Employee

 Retirement Income Security Act (“ERISA”). Plaintiff is a non-profit trust, sponsored and

 administered by a Board of Trustees, established through collective bargaining by labor unions

 and employers. Pursuant to the trust agreement under which it was created, it provides

 comprehensive healthcare benefits to participants who are employed under various collective

 bargaining agreements, along with their dependents and retirees. Plaintiff paid for generic drugs




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 purchased at CVS stores on behalf of its members and beneficiaries and was damaged by the

 conduct alleged herein.

          7.       Plaintiff Indiana Carpenters Welfare Fund is a Third-Party Payor with its

 principal place of business located in Indianapolis, Indiana. Plaintiff is an “employee welfare

 benefit plan” and an “employee benefit plan” as defined in the Employee Retirement Income

 Security Act (“ERISA”). Plaintiff is a non-profit trust, sponsored and administered by a Board

 of Trustees, established through collective bargaining by labor unions and employers. Pursuant

 to the trust agreement under which it was created, it provides comprehensive healthcare benefits

 to participants who are employed under various collective bargaining agreements, along with

 their dependents and retirees. Plaintiff paid for generic drugs purchased at CVS stores on behalf

 of its members and beneficiaries and was damaged by the conduct alleged herein.

 B.       Defendant

          8.       Defendant CVS Pharmacy, Inc., a/k/a CVS/Caremark, CVS/Pharmacy,

 CVS/Minute Clinic and CVS/Specialty (hereinafter, “CVS”) is a corporation organized under the

 laws of Delaware. CVS is headquartered at One CVS Drive, Woonsocket, Rhode Island, 02895.

          9.       CVS is a nationwide retail pharmacy chain with more than 7,866 pharmacies

 operating under the trade names CVS Pharmacy and Longs Drugs throughout the United States,

 the District of Columbia, and Puerto Rico, including numerous locations in this District. As one

 of the nation’s leading pharmacy businesses, CVS “has relationships with over 150 million

 consumers, one of every two Americans, and has access to data on 30 percent of all prescriptions

 in the United States.” CVS fills or manages more than 1 billion prescriptions per year, and, in

 2014, earned net revenue of $139.37 billion. Significantly, CVS’s retail prescription drug sales

 accounted for approximately $67 billion in revenue in 2014.




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                                III.    JURISDICTION AND VENUE

          10.      This Court has subject-matter jurisdiction pursuant to the Class Action Fairness

 Act of 2005, 28 U.S.C. § 1332(d)(2), because this is a class action, including claims asserted on

 behalf of a nationwide class, filed under Rule 23 of the Federal Rules of Civil Procedure; there

 are hundreds of thousands, and likely millions, of proposed Class members; the aggregate

 amount in controversy exceeds the jurisdictional amount or $5,000,000.00; and CVS is a citizen

 of a State different from that of Plaintiffs and members of the Class. This Court also has subject

 matter jurisdiction over Plaintiffs’ and the proposed Class’ claims pursuant to 28 U.S.C. §

 1367(a).

          11.      Venue is proper in this District under 28 U.S.C. § 1391 (a)–(d) because, inter alia,

 substantial parts of the events or omissions giving rise to the claim occurred in the District and/or

 a substantial part of property that is the subject of the action is situated in the District.

                                             IV.     FACTS

 A.       Third-Party Plan Coverage and Claims Submission

          12.      The majority of patients in the United States have a health care plan (either

 private or public) that covers all or a portion of their medical and pharmaceutical expenses.

          13.      CVS uses a uniform process at its locations for each prescription drug transaction.

 When a patient fills a prescription at a CVS pharmacy, the pharmacist or pharmacy technician

 enters the prescription information and any applicable insurance or benefit information into

 CVS’s computerized claims processing system. Once this information is entered, CVS submits

 the claim for dispensing and adjudication.

          14.      Adjudication is the automated process by which CVS submits prescription claims

 electronically in real time to the Third-Party Payor (or its agent). During adjudication, the claim




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 is verified and/or confirmed for patient eligibility for insurance or another prescription drug

 benefit. Through this process, using the drug price information from CVS, the Third-Party Payor

 sets the reimbursement amount and any applicable copayment or coinsurance.

           15.     For all times relevant to the allegations in this Complaint, CVS used the industry

 standard NCPDP reporting for the electronic transmission and adjudication of its pharmacy

 claims.

           16.     As a required component of the adjudication process, CVS reports to Third-Party

 Payors CVS’s usual and customary (“U&C”) price for the drug being dispensed. The U&C price

 is generally defined as the cash price to the general public, which is the amount charged cash

 customers for the prescription, exclusive of sales tax or other amounts claimed. Pursuant to the

 NCPDP reporting standard, pharmacies are required to report the amount of its U&C price for

 each prescription transaction using NCPDP’s mandatory pricing segment code 426–DQ.

           17.     Based on the data reported by CVS, Third-Party Payors reimburse the pharmacy.

 B.        The HSP Program

           18.     In 2006, large “big-box” retailers with pharmacy departments began offering

 hundreds of generic prescription drugs at significantly reduced prices.

           19.     For example, in September 2006, Wal-Mart began charging $4 for a 30-day

 supply of the most commonly prescribed generic drugs and $10 for a 90-day supply. In

 November of that same year, Target began charging $4 for a 30-day supply of the most

 commonly prescribed generic drugs and $10 for a 90-day supply. Other retailers with pharmacy

 departments, which were able to absorb lower margins on generic drug sales, followed suit. Wal-

 Mart and Target report to Third-Party Payors, as their U&C prices, the lower $4 per 30-day

 prices for generic prescription drugs.




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          20.      CVS was unwilling to match the deep discounts on generic drugs provided to

 customers by big-box retailers. So, in response to lower prices and increased competition for

 cash customers, CVS created a custom-branded loyalty program targeted at cash customers and

 other price-sensitive customers.

          21.      In November 2008, CVS launched its custom branded generic prescription drug

 program—the HSP program.

          22.      The HSP program is intended to offer competitive prices to cash customers while

 maximizing third-party reimbursements and copayments through reporting artificially inflated

 U&C prices to Third-Party Payors.

          23.      Specifically, as designed, the HSP program is a non-networked discount

 prescription drug program that offers savings on hundreds of generic medications. The HSP

 program is not a third-party plan; it is not insurance or a substitute for insurance. Enrollment in

 the HSP program was and continues to be open to cash-paying customers. From November 9,

 2008 through 2010, such customers could join the HSP for a $10 fee. During this time, CVS

 charged HSP members $9.99 for a 90-day supply of the most commonly prescribed generic

 drugs (“HSP Generics”). Moreover, CVS pharmacists routinely prorated prescriptions written for

 less than 90-days. For example, CVS would charge a HSP member roughly $3.33 for a 30-day

 supply. In 2011, CVS raised its enrollment fee to $15 a year and the price of the over 400 HSP

 generics to $11.99 for a 90-day supply (or a prorated amount of approximately $3.99 for a 30-

 day supply).

          24.      The 400 drugs included under the HSP program are among some of the most

 commonly prescribed generic drugs for cardiovascular, allergy, diabetes, pain, and arthritis,




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  cholesterol, skin conditions, mental health, women’s health, viruses, thyroid conditions,

  glaucoma and eye care, gastrointestinal disorders, and other common ailments.

           25.      CVS designed the HSP program to appeal to price sensitive customers, which, for

  the most part, are customers who take long-term maintenance medications. Customers who take

  maintenance medications, many of whom are elderly or disabled, are the most valuable to CVS.

  C.       CVS’s Unlawful Conduct

           26.      Although CVS sought to retain and attract cash customers by implementing the

  HSP program, it was unwilling to lower the price charged to Third-Party Payors. The HSP

  program enabled CVS to unlawfully report artificially inflated U&C prices to Third-Party

  Payors, thereby allowing CVS to collect from TPPs artificially inflated charges.

           27.      CVS is on notice that Third-Party Payors calculate the drug price to be paid to the

  pharmacy based on whether the U&C submitted to the Third-Party Payor is less than or greater

  than the negotiated price. Where the U&C is less than the negotiated price, CVS may not charge

  a drug price greater than the U&C. This is clear in contracts, network pharmacy manuals, payor

  sheets, and CVS’s own transaction data, which contain reimbursements adjudicated under this

  formula.

           28.      Through the HSP program, CVS implemented a scheme to create a new category

  of cash customers, in order to avoid lowering prices charged to Third-Party Payors. CVS

  designed the HSP to split CVS’s cash business, formerly consisting solely of people who pay the

  cash price (the usual and customary price), into two segments: customers who pay the retail

  price, and customers who pay the HSP price.

           29.      The customers who purchase prescriptions outside of the HSP program and pay

  the retail price make up less than 50 percent of CVS’s cash business and less than three percent




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  of CVS’s total prescription business. In other words, most of CVS’s cash-paying customers pay

  the HSP price.

           30.      As previously stated, the U&C price is the cash price offered to the general public

  for specific drugs. CVS offers the HSP price as the cash price to the general public and the HSP

  price is the most common price paid by CVS’s cash-paying customers. The HSP price is CVS’s

  U&C price.

           31.      Nonetheless, CVS continues deceptively to submit the retail price as its purported

  U&C price to Third-Party Payors. CVS can accomplish this because Third-Party Payors are not

  privy to what prices CVS charges its cash customers, including its HSP customers, and what

  percentage of CVS’s cash customers pay each price. Therefore, Third-Party Payors have no way

  of determining on their own whether the price CVS submits as its U&C is, in fact, the most

  common price offered to cash paying members of the general public.

           32.      In essence, the HSP program serves as a camouflage or ruse to avoid reporting the

  HSP prices to Third-Party Payors as CVS’s U&C price.

           33.      Instead of reporting the more common HSP price as the U&C price, CVS reports

  a significantly inflated price.

           34.      CVS falsely reports, and continues to report, to Third-Party Payors U&C prices

  for HSP Generics that are substantially higher than the HSP price it offers to the general public.

           35.      The inflated U&C reported by CVS to Third-Party Payors does not take into

  account the specifics of any particular third-party plan. In fact, for a given drug, strength, and

  quantity, CVS may report the same U&C to all Third-Party Payors despite any variations in their

  respective plans.




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           36.      Beginning in November 2008 and continuing through the present, CVS has

  reported to Third-Party Payors artificially inflated U&C prices for the same prescription drugs

  that CVS offers for lower prices under the HSP program. CVS has thereby caused (and continues

  to cause) Plaintiffs and other Class members to pay inflated prices to CVS, because they exceed

  the actual U&C prices.

           37.      CVS directly competes for customers with other national retail pharmacies, such

  as Wal-Mart, Target, Costco, and ShopRite. In contrast to other national retail pharmacies who

  report the discounted price as the U&C price, CVS unlawfully reports a marked-up and baseless

  U&C price that deceives and gouges.

           38.      As part of its scheme, CVS has reported U&C prices for generic prescription

  drugs that are up to eleven (11) times the U&C prices reported by some of its most significant

  competitors and its own HSP prices. The chart below shows U&C prices submitted to

  Pennsylvania’s Medicaid program for the purposes of claims adjudication. The U&Cs submitted

  by CVS are unequivocally inflated.

                                 Shoprite    WalMart       Target   Costco    CVS             CVS
   Drug (90 Day Supply)          Reported    Reported     Reported Reported Reported          HSP
                                  U&C         U&C          U&C      U&C      U&C              Price

  Carvedilol 12.5 mg tab         $9.99       $10.00       $10.00      $9.99       $120.99     $11.99


  Lisinopril 20 mg tab           $9.99       $10.00       $10.00      n/a         $42.19      $11.99

  Lisinopril – HTCZ 20-          $9.99       $24.00       $24.00      n/a         $58.59      $11.99
  12.5 mg tab
  Metformin HCL 1000 mg          $9.99       $24.00       $24.00      $9.99       $86.59      $11.99
  tab
  Metoprolol Tartrate 50         $9.99       $10.00       $10.00      $9.99       $48.99      $11.99
  mg tab




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                                 Shoprite    WalMart        Target   Costco    CVS               CVS
   Drug (90 Day Supply)          Reported    Reported      Reported Reported Reported            HSP
                                  U&C         U&C           U&C      U&C      U&C                Price
  Warfarin Sodium 5 mg           $9.99       $10.00        $24.00     $28.00      $48.39         $11.99
  tab

  Meloxicam 15 mg tab            $9.99       $10.00        n/a        $9.23       $79.59         $11.99

  Alendronate Sodium 70          $29.99      $24.00        n/a        $17.61      $134.99        $11.99
  mg tab

           39.      For years, this pricing scheme has been a financial boon for CVS. Since 2008,

  CVS has collected billions of dollars from Plaintiffs and other Class members. On information

  and belief, CVS’s wrongful overcharges to Plaintiffs and the other members of the Classes

  comprise a meaningful portion of CVS’s generic prescription drug revenue.

           40.      By reporting false U&C prices to Third-Party Payors, CVS has caused Plaintiffs

  and members of the Classes to pay, and continue to pay, to CVS, artificially high prices for

  generic prescription drugs. On information and belief, there have been millions of instances

  where CVS intentionally submitted fraudulently-inflated U&C pricing information to Third-

  Party Payors for prescriptions purchased by members and beneficiaries of Plaintiffs and

  members of the Classes during the class period.

           41.      As a result of its fraudulent scheme, CVS has overcharged and continues to

  overcharge hundreds or thousands of TPPs (including Plaintiffs and the Classes) which paid for

  some of the most commonly prescribed generic drugs from CVS Pharmacies around the country.

  Class members were overcharged by at least the difference between their payments and the

  U&C.




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                                     V.     CLASS ALLEGATIONS

           42.      Plaintiffs bring this action pursuant to Federal Rule of Civil Procedure 23(b)(3),

  on behalf of themselves and the following class:

                    All Third-Party Payors that paid CVS between November 2008
                    and the present (the “Class Period”), for generic prescription drugs
                    that are listed on the CVS Health Savings Pass prescription drug
                    list attached as Exhibit A.

           43.      Excluded from the foregoing Class are any governmental payors, including

  Medicare and Medicaid, CVS, and their officers and directors.

           44.      The Class consist of at least hundreds of TPPs, making joinder impractical, in

  satisfaction of FRCP 23(a)(1). The exact size of the Class and the identities of the individual

  members thereof are ascertainable through CVS’s records, including but not limited to their

  billing and collection records.

           45.      The claims of Plaintiffs are typical of the Class. The claims of the Plaintiffs and

  the respective Classes are based on the same legal theories and arise from the same unlawful and

  willful conduct, resulting in the same injury to the Plaintiffs and their respective Classes.

           46.      The respective Classes have a well-defined community of interest. CVS has acted

  and failed to act on grounds generally applicable to the Plaintiffs and the Class, requiring the

  Court’s imposition of uniform relief to ensure compatible standards of conduct toward the

  respective Classes.

           47.      There are many questions of law and fact common to the claims of Plaintiffs and

  the Class, and those questions predominate over any questions that may affect only individual

  Class members within the meaning of FRCP 23(a)(2) and 23(b)(2).




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           48.      Common questions of fact and law affecting members of the Class include, but

  are not limited to, the following:

                    a.     Whether CVS artificially inflated the U&C prices that it reported pursuant
                           to the NCPDP reporting standard;

                    b.     Whether CVS omitted and concealed material facts from its
                           communications and disclosures regarding its pricing scheme;

                    c.     Whether CVS has overcharged and continues to overcharge TPPs
                           (including Plaintiffs and the Class) which paid for some of the most
                           commonly prescribed generic drugs from CVS Pharmacies around the
                           country;

                    d.     Whether CVS has engaged in fraud, unfair methods of competition,
                           unconscionable acts or practices, and unfair or deceptive acts or practices
                           in connection with the pricing and sale of generic prescription drugs;

                    e.     Whether, as a result of CVS’s conduct, Plaintiffs and the Class have
                           suffered damages, and, if so, the appropriate measure of damages to which
                           they are entitled; and

                    f.     Whether, as a result of CVS’s misconduct, Plaintiffs and the Class are
                           entitled to injunctive, equitable and/or other relief, and, if so, the nature of
                           such relief.

           49.      Absent a class action, most of the members of the Class would find the cost of

  litigating their claims to be prohibitive and will have no effective remedy. The class treatment of

  common questions of law and fact is also superior to multiple individual actions or piecemeal

  litigation in that it conserves the resources of the courts and the litigants and promotes

  consistency and efficiency of adjudication.

           50.      Plaintiffs will fairly and adequately represent and protect the interests of the

  Class. Plaintiffs have retained counsel with substantial experience in prosecuting complex

  litigation and class actions. Plaintiffs and their counsel are committed to vigorously prosecuting

  this action on behalf of the other respective Class members, and have the financial resources to




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  do so. Neither Plaintiffs nor their counsel have any interests adverse to those of the other

  members of the Class.

                        VI.   TOLLING OF THE STATUE OF LIMITATIONS

           51.      Plaintiffs and the Class had neither actual nor constructive knowledge of the facts

  constituting their claims for relief until recently.

           52.      Plaintiffs and members of the Classes did not discover, and could not have

  discovered through the exercise of reasonable diligence, the existence of the unlawful conduct

  alleged herein until recently.

           53.      CVS engaged in a secret scheme that did not reveal facts that would have put

  Plaintiffs or the Class on inquiry notice that CVS was charging inflated prices for generic

  prescription drugs.

           54.      Because CVS’s scheme was kept secret, Plaintiffs and the Class were unaware of

  CVS’s unlawful conduct alleged herein and did not know that they were paying artificially

  inflated prices for generic prescription drugs in the United States during the class period.

           55.      CVS actively misled the public about the HSP scheme by not disclosing to

  Plaintiffs and the Class that the U&C prices reported to Third-Party Payors for the generic drugs

  in the HSP program were far higher than the HSP prices. CVS charged Plaintiffs and the Class

  prices for the drugs that reflected CVS’ artificially inflated U&C prices. CVS also failed to post

  drug prices in a clear manner and in a way that would alert Plaintiffs and the Class to the artificially

  inflated prices charged by CVS. By so doing, CVS misled Plaintiffs and the Class into paying to

  CVS inflated prices for these drugs.




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           56.      CVS’s affirmative acts alleged herein, including acts in furtherance of its

  unlawful scheme, were wrongfully concealed and carried out in a manner that precluded

  detection.

           57.      CVS’s unlawful pricing activities were inherently self-concealing because they

  involved misrepresenting and falsely reporting the U&C price. If CVS had been open and

  notorious about its fraudulent pricing scheme, it would never have succeeded.

           58.      Plaintiffs and the Class could not have discovered the alleged unlawful activities

  at an earlier date by the exercise of reasonable diligence because CVS employed deceptive

  practices and techniques of secrecy to avoid detection of their activities. CVS fraudulently

  concealed their activities by various means and methods, including misrepresentations regarding

  the real U&C prices of generic prescription drugs.

           59.      Because CVS affirmatively concealed its scheme, Plaintiffs and the Class had no

  knowledge until recently of the alleged fraudulent activities or information which would have

  caused a reasonably diligent person to investigate whether CVS committed the actionable

  activities detailed herein.

           60.      As a result of CVS’s fraudulent concealment, the running of any statute of

  limitations has been tolled with respect to any claims that Plaintiffs and the Class have as a result

  of the unlawful conduct alleged in this Complaint.

                                      VII.   CAUSES OF ACTION

           COUNT I: VIOLATIONS OF STATE CONSUMER PROTECTION ACTS

           61.      Plaintiffs restate and incorporate herein by reference the preceding paragraphs as

  if fully set forth herein.




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           62.      Count I is brought by Plaintiffs, individually, and on behalf of all similarly

  situated residents of each of the following states for violations of the state consumer protection

  acts including:

                    a.     the Alaska Unfair Trade Practices and Consumer Protection Act, Alaska
                           Stat. § 45.50.471, et seq.;

                    b.     the Arizona Consumer Fraud Act, Ariz. Rev. Stat. §§ 44-1521, et seq.;

                    c.     the Arkansas Deceptive Trade Practices Act, Ark. Code § 4-88-101, et
                           seq.;

                    d.     the California Unfair Competition Law, Bus. & Prof. Code §§ 17200, et
                           seq. and 17500, et seq.;

                    e.     the California Consumer Legal Remedies Act, Cal. Civ. Code § 1750, et
                           seq.;

                    f.     the Colorado Consumer Protection Act, Colo. Rev. Stat. Ann. § 6-1-101,
                           et seq.;

                    g.     the Connecticut Unfair Trade Practices Act, Conn. Gen. Stat. Ann. § 42-
                           110, et seq.;

                    h.     the Delaware Consumer Fraud Act, 6 Del. Code § 2513, et seq.;

                    i.     the Florida Deceptive and Unfair Trade Practices Act, Fla. Stat. Ann. §
                           501.201, et seq.;

                    j.     the Idaho Consumer Protection Act, Idaho Code Ann. § 48-601, et seq.;

                    k.     the Illinois Consumer Fraud and Deceptive Business Practices Act, 815
                           ILCS 50111, et seq.;

                    l.     the Indiana Deceptive Consumer Sales Act, Ind. Code § 24-5-0.5-2, et
                           seq.;

                    m.     the Kansas Consumer Protection Act, Kan. Stat. Ann. § 50-623, et seq.;

                    n.     the Kentucky Consumer Protection Act, Ky. Rev. Stat. Ann. § 367.110, et
                           seq.;




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                    o.    the Louisiana Unfair Trade Practices and Consumer Protection Law, LSA-
                          R.S. 51:1401, et seq.;

                    p.    the Maine Unfair Trade Practices Act, Me. Rev. Stat. Ann. Tit. 5, § 207, et
                          seq.;

                    q.    the Massachusetts Regulation of Business Practices for Consumers
                          Protection Act, Mass. Gen Laws Ann. Ch. 93A, et seq.;

                    r.    the Michigan Consumer Protection Act, Mich. Comp. Laws Ann. §
                          445.901, et seq.;

                    s.    the Minnesota Prevention of Consumer Fraud Act, Minn. Stat. § 325F, et
                          seq.;

                    t.    the Nebraska Consumer Protection Act, Neb. Rev. St. §§ 59-1601, et seq.;

                    u.    the Nevada Deceptive Trade Practices Act, Nev. Rev. St. §§ 41.600, et
                          seq.;

                    v.    the New Hampshire Regulation of Business Practices for Consumer
                          Protection, N.H. Rev. Stat. § 358-A:1, et seq.;

                    w.    the New Jersey Consumer Fraud Act, N.J. Stat. Ann. § 56:8, et seq.;

                    x.    the New Mexico Unfair Practices Act, N.M. Stat. Ann. § 57-12-1, et seq.;

                    y.    the New York Consumer Protection from Deceptive Acts and Practices,
                          N.Y. Gen. Bus. Law § 349, et seq.;

                    z.    the North Carolina Unfair and Deceptive Trade Practices Act, N.C. Gen
                          Stat. § 75-1.1, et seq.;

                    aa.   the North Dakota Consumer Fraud Act, N.D. Cent. Code § 51-15, et seq.;

                    bb.   the Ohio Consumer Sales Practices Act, Ohio Rev. Code Ann. § 1345.01,
                          et seq.;

                    cc.   the Oregon Unlawful Trade Practices Act, Or. Rev. Stat. § 646.605, et
                          seq.;

                    dd.   the South Carolina Unfair Trade Practices Act, S.C. Code Ann. §§ 39-5-
                          10, et seq.;




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                    ee.    the South Dakota Deceptive Trade Practices and Consumer Protection
                           Act, S.D. Codified Laws § 37-24-1, et seq.;

                    ff.    the Texas Deceptive Trade Practices-Consumer Protection Act, Tex. Code
                           Ann., Bus. & Con. § 17.41, et seq.;

                    gg.    the Vermont Consumer Fraud Act, 9 V.S.A. § 2451, et seq.;

                    hh.    the Virginia Consumer Protection Act of 1977, Va. Code Ann. § 59.1-199,
                           et seq.;

                    ii.    the Washington Consumer Protection Act, Wash. Rev. Code § 19.86.010,
                           et seq.;

                    jj.    the Wisconsin Deceptive Trade Practices Act, Wis. Stat. § 100.18, et seq.;
                           and

                    kk.    the Wyoming Consumer Protection Act, Wyo. Stat. Ann. § 40-12-101, et
                           seq.

           63.      Plaintiffs have complied with the applicable notice requirements of the state

  statutes.

           64.      The acts, practices, misrepresentations and omissions by Defendant described

  above, and Defendant's dissemination of deceptive and misleading U&C prices, occurring in the

  course of conduct involving trade or commerce, constitute unfair methods of competition and

  unfair or deceptive acts or practices within the meaning of each of the above-enumerated

  statutes.

           65.      Defendant's acts and practices created a likelihood of confusion or of

  misunderstanding and misled, deceived or damaged Plaintiff and members of the Class in

  connection with the sale of and payments for generic prescription drugs. Defendant's conduct

  also constituted the use or employment of deception, fraud, false pretense, false promise,

  misrepresentation, or knowingly concealing, suppressing, or omitting a material fact with intent

  that others rely upon the concealment, suppression or omission in connection with the sale or




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  advertisement of goods whether or not a person has in fact been misled, deceived or damaged in

  violation of each of the above-enumerated statutes.

           66.      Plaintiffs, on behalf of themselves and the Class members, seek monetary

  damages, treble damages and such other and further relief as set forth in each of the above-

  enumerated statutes.

                         COUNT II: NEGLIGENT MISREPRESENTATION

           67.      Plaintiffs repeat paragraphs 1 through 66 above.

           68.      Under the circumstances alleged, CVS owed a duty to Plaintiffs and members of

  the Class to provide them with accurate information regarding the prices of their generic

  prescription drugs.

           69.      CVS misrepresented and/or concealed the true U&C prices of generic prescription

  drugs that are included in the HSP program. CVS made such misrepresentations by reporting

  artificially inflated U&C prices for such drugs to Third-Party Payors.

           70.      CVS had no reasonable grounds to believe that these misrepresentations and/or

  omissions were true. The prices that CVS reported to Third-Party Payors were substantially (and

  unjustifiably) higher than the prices CVS charged under its HSP program to cash-paying

  customers.

           71.      CVS intended to induce Plaintiffs and Class Members to rely on its

  misrepresentations and/or omissions. CVS knew that Plaintiffs and Class Members would rely

  on CVS’s misrepresentations and/or omissions regarding U&C prices and, as a result, would pay

  copayments higher than the actual U&C prices for those generic prescription drugs.

           72.      Plaintiffs and Class Members justifiably relied upon CVS’s misrepresentations

  and/or omissions in that Plaintiffs and Class Members would not have purchased generic




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  prescription drugs from CVS for more than the Health Savings Pass prices but for CVS’s

  misrepresentations and/or omissions. Plaintiffs’ and Class Members’ reliance on CVS’s

  misrepresentations and/or omissions was, thus, to their detriment.

           73.      As a proximate result of CVS’s negligent conduct, Plaintiffs and Class Members

  have been damaged because they paid copayments for generic prescription drugs that were far

  higher than the prices they would have paid but for CVS’s misconduct.

           74.      CVS is therefore liable to Plaintiffs and members of the National Class for the

  damages they sustained.

                                COUNT III: UNJUST ENRICHMENT

           75.      Plaintiffs repeat paragraphs 1 through 74 above.

           76.      By means of CVS’s wrongful conduct alleged herein, CVS knowingly charges

  plan participants artificially high copayments for generic prescription drugs included in the HSP

  program in a manner that is unfair and unconscionable.

           77.      CVS knowingly received and retained wrongful benefits and funds from Plaintiffs

  and members of the National Class. In so doing, CVS acted with conscious disregard for the

  rights of Plaintiffs and Class Members.

           78.      As a result of CVS’s wrongful conduct as alleged herein, CVS has been unjustly

  enriched at the expense of, and to the detriment of, Plaintiffs and members of the National Class.

           79.      CVS’s unjust enrichment is traceable to, and resulted directly and proximately

  from, the conduct alleged herein.

           80.      Under the common law doctrine of unjust enrichment, it is inequitable for CVS to

  be permitted to retain the benefits it received, and is still receiving, without justification, from the

  imposition of artificially inflated prices on Plaintiffs and members of the National Class in an




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  unfair and unconscionable manner. CVS’s retention of such funds under circumstances making it

  inequitable to do so constitutes unjust enrichment.

           81.      Plaintiffs and the other Class Members did not confer these benefits officiously or

  gratuitously, and it would be inequitable and unjust for CVS to retain these wrongfully obtained

  proceeds.

           82.      CVS is therefore liable to Plaintiffs and members of the National Class for

  restitution in the amount of CVS wrongfully obtained profits.

                                        PRAYER FOR RELIEF

           Plaintiffs respectfully request that this Court certify the putative Class, appoint Plaintiffs

  as the representatives for the Class, appoint their attorneys as Class Counsel, enter judgment for

  Plaintiffs and the Class, and grant such other and further relief as this Court deems appropriate.

  Dated: March 3, 2017                                      Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

           I hereby certify that on this 3rd day of March, 2017, a copy of the foregoing was filed

  electronically and served by mail on anyone unable to accept electronic filing. Notice of this

  filing will be sent by email to all parties noted below by operation of the Court’s electronic filing

  system or by mail to anyone unable to accept electronic filling as indicated on the Notice of

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